      Case 1-24-44027-ess             Doc 53      Filed 11/18/24     Entered 11/18/24 14:56:18




KIRBY AISNER & CURLEY LLP                                     Hearing Date: November 19, 2024
Attorneys for the Debtors                                     Hearing Time: 12:00 noon
700 Post Road, Suite 237
Scarsdale, New York 10583
Tel: (914) 401-9500
Erica R. Aisner, Esq.
eaisner@kacllp.com

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------X
In re:
                                                              Chapter 11
ONE EDGE MARINA FINANCE                                       Lead Case No. 24-44027(ess)
COMPANY LLC, et al.,                                          Jointly Administered

                                      Debtors.
----------------------------------------------------------X
                   NOTICE OF HERAING ON APPLICATION TO EMPLOY
          AND RETAIN AUCTION ADVISORS AS BROKER AND AUCTIONEER

        PLEASE TAKE NOTICE, that the a hearing on the Application of One15 Brooklyn
Marina LLC, One15 Brooklyn Sail Club LLC and One15 Restaurant LLC, debtors and debtors-
in-possession in the above referenced jointly administered chapter 11 cases, has been scheduled to
be heard before the Honorable Elizabeth S. Strong United States Bankruptcy Judge, at the United
States Bankruptcy Court, Eastern District of New York, 271-C Cadman Plaza East, Brooklyn, NY
11201, Courtroom 3583, on Tuesday, November 19, 2024, at 12:00 p.m via CISCO WEBEX.
       PLEASE TAKE FURTHER NOTICE, that objections, if any, to the relief requested in
the Application may be filed with the Court on the Court’s Electronic Case Filing System, at
www.ecf.nyeb.uscourts.gov (login and password required), prior to the hearing or made orally at
the hearing.

Dated: Scarsdale New York
       November 18, 2024                            KIRBY AISNER & CURLEY LLP
                                                    Attorneys for the Debtor
                                                    700 Post Road, Suite 237
                                                    Scarsdale, New York 10583
                                                    Tel: (914) 401-9500

                                                    By: /s/ Erica Aisner
                                                          Erica Aisner, Esq.
TO:     All Creditors
        United States Trustee
        All Parties Having Filed a Notice of Appearance
